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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


Bureau of Consumer Financial                       )
Protection,                                        )          Case No. 1:20-cv-04176
                                                   )
                Plaintiff,                         )
                                                   )
v.                                                 )          Judge Franklin U. Valderrama
                                                   )          Magistrate Judge Gabriel A. Fuentes
                                                   )
Townstone Financial, Inc., et al.,                 )
                                                   )
              Defendants.                          )


                                     MOTION TO WITHDRAW

         I, Barry E. Reiferson, respectfully move for leave of this Court to withdraw as counsel in

 this case for the plaintiff, Bureau of Consumer Financial Protection.

         1.      On July 22, 2020, I filed an Attorney Appearance Form in this case on behalf of

 the plaintiff. Doc. 11.

         2.      I will be ending my employment with the Bureau of Consumer Financial

 Protection on September 12, 2022.

         3.      Other attorneys with the Bureau of Consumer Financial Protection have appeared

 for, and will continue to represent, the agency in this case. Granting leave will neither prejudice

 the plaintiff nor cause undue delay.




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      I respectfully request that this Court grant this motion for leave to withdraw as counsel.


Dated: September 9, 2022               Respectfully submitted,

                                       /s/ Barry E. Reiferson
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